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AO 245B (Rev. 11/16) Judgment in a Criminal Case

DEFENDANT:

Attachment (Page 1) — Statement of Reasons

JOHN VANDEMOER

CASE NUMBER: 18CR10079-RWZ
DISTRICT:

I.

Il.

iil.

Massachusetts

STATEMENT OF REASONS
(Not for Public Disclosure)

Sections I, Il, HI, IV, and VII of the Statement of Reasons form must be completed in all felony and Class A misdemeanor cases.

COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

AY
B. O

Cc. Oo

The court adopts the presentence investigation report without change.

The court adopts the presentence investigation report with the following changes, (Use Section VII if necessary)
(Check all that apply and specify court determination, findings, or comments, referencing paragraph numbers in the presentence report.)

© Chapter Two of the United States Sentencing Commission Guidelines Manual determinations by court: (briefly
summarize the changes, including changes to base offense level, or specific offense characteristics)

© Chapter Three of the United States Sentencing Commission Guidelines Manual determinations by court: @riefly
summarize the changes, including changes to victim-related adjustments, role in the offense, obstruction of justice, multiple counts, or
acceptance of responsibility)

Chapter Four of the United States Sentencing Commission Guidelines Manual determinations by court: (briefly
summarize the changes, including changes to criminal history category or scores, career offender status, or criminal livelihood determinations)

0 Additional Comments or Findings: (include comments or factual findings concerning any information in the presentence report,
including information that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation, or programming
decisions; any other rulings on disputed portions of the presentence investigation report, identification of those portions of the report in dispute
but for which a court determination is unnecessary because the matter will not affect sentencing or the court will not consider it)

The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.
Applicable Sentencing Guideline: (if mere than one guideline applies, list the guideline producing the highest offense level)

COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check ali that apply)

A. O
B. O
c. Z

One or more counts of conviction carry a mandatory minimum term of imprisonment and the sentence imposed is at or
above the applicable mandatory minimum term.

One or more counts of conviction carry a mandatory minimum term of imprisonment, but the sentence imposed is below
a mandatory minimum term because the court has determined that the mandatory minimum term does not apply based on:

O findings of fact in this case: (Specify)

0 substantial assistance (18 U.S.C. § 3553(e))
O sthe statutory safety valve (18 U.S.C. § 3553(f))

No count of conviction carries a mandatory minimum sentence.

COURT DETERMINATION OF GUIDELINE RANGE: (BEFORE DEPARTURES OR VARIANCES)

Total Offense Level: 18

 

 

Criminal History Category: |

Guideline Range: (after application of $5G1.1 and $5G1.2) 20 to 33 months
Supervised Release Range: 1 to 3 years

Fine Range: $ _10000 to $ 100000

 

O Fine waived or below the guideline range because of inability to pay.
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
Attachment (Page 2) —- Statement of Reasons

DEFENDANT: JOHN VANDEMOER
CASE NUMBER:19CR10079-RWZ

Not for Public Disclosure

 

DISTRICT: Massachusetts
STATEMENT OF REASONS
IV. GUIDELINE SENTENCING DETERMINATION (Check all that apply)
A. © The sentence is within the guideline range and the difference between the maximum and minimum of the guideline range
does not exceed 24 months.
B. © The sentence is within the guideline range and the difference between the maximum and minimum of the guideline range
exceeds 24 months, and the specific sentence is imposed for these reasons: (Use Section VIII if necessary)
C. 0 The court departs from the guideline range for one or more reasons provided in the Guidelines Manual.

(Also complete Section V.)

D. @ The court imposed a sentence otherwise outside the sentencing guideline system (i.c., a variance). (Also complete Section VI)

V. DEPARTURES PURSUANT TO THE GUIDELINES MANUAL (if applicable)

A. The sentence imposed departs: (Check only one)
O above the guideline range
O below the guideline range

B. Motion for departure before the court pursuant to: (Check all that apply and specify reason(s) in sections C and D)

1. Plea Agreement

binding plea agreement for departure accepted by the court

© plea agreement for departure, which the court finds to be reasonable

plea agreement that states that the government will not oppose a defense departure motion.
2. Motion Not Addressed in a Plea Agreement

O = government motion for departure

~~ defense motion for departure to which the government did not object

O = defense motion for departure to which the government objected
0 = joint motion by both parties
3. Other

© Other than a plea agreement or motion by the parties for departure
C. Reasons for departure: (Check all that apply)

O 4A1.3 Criminal History Inadequacy O 5K2.1 Death O 5K2.12
O SHI.1 Age CG 5K2.2 Physical Injury O 5K2.13
O 5H1.2 Education and Vocational Skills O 5K2.3 Extreme Psychological Injury OO 5K2.14
O 5HI1.3 Mental and Emotional Condition O 5K2.4 Abduction or Unlawful O 5K2.16
Restraint
O 5H14_ Physical Condition O 5K2.5 Property Damage or Loss O 5K2.17
O 5H1.5 Employment Record O 5K2.6 Weapon O 5K2.18
© 5H1.6 Family Ties and Responsibilities (1 5K2.7 Disruption of Government O 5K2.20
Function
O S5H1.11 Military Service O 5K2.8 Extreme Conduct O 5K2.21
O 5HI1.11 Charitable Service/Good Works O 5K2.9 Criminal Purpose O 5K2.22
O 5K1.1 Substantial Assistance O 5K2.10 Victim’s Conduct O 5K2.23
O 5K2.0 Aggravating/Mitigating O 45K2.11 Lesser Harm O 5K2.24
Circumstances
O 5K3.1
0

Departure Provisions” following the Index in the Guidelines Manual.) (Please specify)

D. State the basis for the departure. (Use Section VII if necessary)

Coercion and Duress
Diminished Capacity

Public Welfare

Voluntary Disclosure of
Offense

High-Capacity, Semiautomatic
Weapon

Violent Street Gang

Aberrant Behavior

Dismissed and Uncharged
Conduct

Sex Offender Characteristics
Discharged Terms of
Imprisonment

Unauthorized Insignia

Early Disposition Program
(EDP)

Other Guideline Reason(s) for Departure, to include departures pursuant to the commentary in the Guidelines Manual: (see “List of
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
Attachment (Page 3) — Statement of Reasons

Not for Public Disclosure
DEFENDANT: JOHN VANDEMOER

CASE NUMBER: 19CR10079-RWZ

DISTRICT: Massachusetts

STATEMENT OF REASONS

VI. COURT DETERMINATION FOR A VARIANCE (ff applicable)
A. The sentence imposed is: (Check oniy one)
01 above the guideline range
/ below the guideline range

B. Motion for a variance before the court pursuant to: (Check all that apply and specify reason(s) in sections C and D)

1, Plea Agreement

0 binding plea agreement for a variance accepted by the court

( plea agreement for a variance, shick=tzoeeurt-finede-te-be-reacenabic

0 _spilea agreement that states that the government will not oppose a defense motion for a variance
2. Motion Not Addressed in a Plea Agreement

{4 government motion for a variance

{J defense motion for a variance to which the government did not object

G_— defense motion for a variance to which the government objected

O = joint motion by both parties
3, Other

O = Other than a plea agreement or motion by the parties for a variance

C. 18 U.S.C. § 3553(a) and other reason(s) for a variance (Check all that apply)
O The nature and circumstances of the offense pursuant to 18 U.S.C. § 3553(a}{1)
O Mens Rea O Extreme Conduct QO Dismissed/Uncharged Conduct
O Role in the Offense O_ Victim Impact
Ol General Aggravating or Mitigating Factors (Specify)

 

CO The history and characteristics of the defendant pursuant to 18 U.S.C. § 3553(a)(1)

O Aberrant Behavior O Lack of Youthful Guidance
O Age O Mental and Emotional Condition
O Charitable Service/Good O Military Service
Works
O Community Ties O Non-Violent Offender
O Diminished Capacity Os Physical Condition
1 Drugor Alcohol Dependence O  Pre-sentence Rehabilitation
O Employment Record OO Remorse/Lack of Remorse
O Family Ties and O Other: (Specify)
Responsibilities

O Issues with Criminal History: (Specify)

 

To reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense
(18 U.S.C. § 3553(a)(2)(A))

To afford adequate deterrence to criminal conduct (18 U.S.C. § 3553(a)(2)(B))

To protect the public from further crimes of the defendant (18 U.S.C. § 3553(a)(2\(C))

To provide the defendant with needed educational or vocational training (18 U.S.C. § 3553(a)(2)(D))

To provide the defendant with medical care (18 U.S.C. § 3553(a)(2)(D))

To provide the defendant with other correctional treatment in the most effective manner (1 8 ULS.C. § 3553(a)(2}(D))
To avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a)(6)) (Specify in section D)

To provide restitution to any victims of the offense (18 U.S.C. § 3553(a)(7))

Acceptance of Responsibility O Conduct Pre-trial/On Bond Cooperation Without Government Motion for
Early Plea Agreement O Global Plea Agreement Departure

Time Served (not counted in sentence) C1 Waiver of Indictment @ = Waiver of Appeal

Policy Disagreement with the Guidelines (Kimbrough v. U.S., 552 U.S. 85 (2007): (Specify)

 

Oo oossooooooOn8 B&B

Other: (Specify)

 

D. State the basis for a variance. (Use Section VII if necessary)
The plea agreement included a variance to 18 months. The government advocated for a 13 month sentence at the
deposition. The sentence of 1 day is justified by the agreed facts that (1)he is the least culpable of the more than 50
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AO 245B (Rev. 11/16) Judgment in a Criminal Case Not for Public Disclosure
Attachment (Page 4) — Statement of Reasons

DEFENDANT: JOHN VANDEMOER
CASE NUMBER: 49CR10079-RWZ
DISTRICT: Massachusetts

STATEMENT OF REASONS

VII. COURT DETERMINATIONS OF RESTITUTION

A. @ _ Restitution Not Applicable.
B. Total Amount of Restitution: §
C. Restitution not ordered: (Check only one)

1. O For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 36634, restitution is not ordered because
the number of identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3)(A).

2, © Foroffenses for which restitution is otherwise mandatory under 18 U.S.C. § 36634, restitution is not ordered because
determining complex issues of fact and relating them to the cause or amount of the victims’ losses would complicate
or prolong the sentencing process to a degree that the need to provide restitution to any victim would be outweighed
by the burden on the sentencing process under 18 U.S.C. § 3663A(c)(3)(B).

3. © For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing
guidelines, restitution is not ordered because the complication and prolongation of the sentencing process resulting
from the fashioning of a restitution order outweigh the need to provide restitution to any victims under 18 U.S.C. §
3663(a)(1)(B)(ii).

4. For offenses for which restitution is otherwise mandatory under 18 U.S.C. §§ 1593, 2248, 2259, 2264, 2327 or.
3663A, restitution is not ordered because the victim(s)'(s) losses were not ascertainable (18 U.S.C. § 3664(d)(5))

5. © Foroffenses for which restitution is otherwise mandatory under 18 U.S.C. §§ 1593, 2248, 2259, 2264, 2327 or
3663A, restitution is not ordered because the victim(s) elected to not participate in any phase of determining the
restitution order (18 U.S.C. § 3664(g)(1)).

6. © Restitution is not ordered for other reasons. (Explain)

 

D. O Partial restitution is ordered for these reasons (18 U.S.C. § 3553(c)):

VII. ADDITIONAL BASIS FOR THE SENTENCE IN THIS CASE (/f applicable)

defendants in the related cases, (2) he received no money for himself; all went directly to the sailing program, (3) none
of the three applicants for admission to Stanford actually went there, (4) while Stanford was harmed by the existence of
the interference with the admissions process, it appears to have little financial loss.

 

 

 

 

 

 

 

Defendant’s Soc. Sec. No.: XXX-XX-XXXX Date of Imposition of Judgment
06/12/2019
Defendant’s Date of Birth: 1977 (2. ry z y
Moss Beach, CA \aon/ Cotte
Defendant’s Residence Address: , Siensfife of Judge
Defendant’s Mailing Address: same Name and Title of Judge

 

 

Date Signed € // E/1F
